Case 2:19-cv-00877-RJS-CMR Document 37 Filed 09/10/20 PagelD.559 Page 1 of 4

Paul W. Shakespear (14113)
SNELL & WILMER (UT)

15 W. South Temple, Ste. 1200
Gateway Tower West

Salt Lake City, Utah 84101
Telephone: (801) 257-1900
Email: pshakespear@swlaw.com

Steven M. Gombos (pro hac vice)

David A. Obuchowicz (pro hac vice)

Jacob C. Shorter (pro hac vice)

GOMBOS LEYTON, P.C.

11350 Random Hills Road

Suite 400

Fairfax, VA 22030

Telephone: (703) 934-2660

Email: sgombos@glpclaw.com
dobuchowicz@glpclaw.com
jshorter@glpclaw.com

Attorneys for Respondent Center for Excellence in Higher Education, Inc.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH

CONSUMER FINANCIAL PROTECTION BUREAU,

PETITIONER,

VS.

NOTICE OF
SUPPLEMENTAL
AUTHORITY

CENTER FOR EXCELLENCE IN HIGHER EDUCATION, | CASE No. 2:19-CV-00877-

RESPONDENT.

DB-CMR

JUDGE DEE BENSON

MAGISTRATE JUDGE
CECILIA M. ROMERO

 

 
Case 2:19-cv-00877-RJS-CMR Document 37 Filed 09/10/20 PagelD.560 Page 2 of 4

NOTICE OF SUPPLEMENTAL AUTHORITY

On Tuesday, September 8, 2020, the United States Court of Appeals for the
Fifth Circuit entered an order (attached as Ex. A) holding in abeyance CFPB ». All
American Check Cashing, Inc., No. 18-60302, which had been scheduled for en banc
consideration later this month, pending the Supreme Court’s decision in Collins ».
Mnuchin, Nos. 19-422 and 19-563.

CFPB ». All American Check Cashing, Inc. raises the same legal question present
here—namely, what is the appropriate remedy for the CFPB’s constitutional defect

recognized in Seila Law LLC v. CFPB, 140 S. Ct. 2183 (2020). See Suppl. En Banc

Br. of Appellants, CFPB v. All American Check Cashing, Inc., No. 18-60302 (5th Cir.
July 30, 2020).

As noted in Respondent’s June 30 Notice of Supplemental Authority, the
Supreme Court left open that question in Sela Law because the parties had not
briefed it. See Dkt. No. 33 at 2; see also Seila Law, 140 S. Ct. at 2208. Just days after
issuing Sesla Law, however, the Supreme Court granted certiorari in Collins ».
Mnuchin which squarely presents the question for the Court’s review. See Petition
for Writ of Certiorari at i, Collins v. Mnuchin, No. 19-422 (Sept. 25, 2019) (raising
the question presented: “[w]hether the courts must set aside a final agency action
that [an agency] took when it was unconstitutionally structured”).

The Fifth Circuit made the prudent decision to hold CFPB v. All American
Check Cashing, Inc. in abeyance in recognition of the fact that the Supreme Court

took up the present question in Collins v. Mnuchin, Nos. 19-422 and 19-563. This

1
Case 2:19-cv-00877-RJS-CMR Document 37 Filed 09/10/20 PagelD.561 Page 3 of 4

Court should similarly hold this case in abeyance pending the Supreme Court’s

decision in Collins ». Mnuchin, Nos. 19-422 and 19-563.

Dated: September 10, 2020

SNELL & WILMER L.L.P.

 

Paul W. Shakespear

GOMBOS LEYTON, P.C.

/s/ Jacob C. Shorter
Steven M. Gombos
David A. Obuchowicz
Jacob C. Shorter

Counsel for Respondent Center for
Excellence in Higher Education, Inc.
Case 2:19-cv-00877-RJS-CMR Document 37 Filed 09/10/20 PagelD.562 Page 4 of 4

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on September 10, 2020, I served the foregoing
document via the court’s CM/ECF electronic filing system to all counsel of record,

including the following:

Benjamin Konop (benjamin.konop@cfpb.gov)
John Thompson (john.thompson@cfpb.gov)

Consumer Financial Protection Bureau
1700 G Street, NW
Washington, DC 20552

Counsel for Petitioner Consumer Financial Protection Bureau

/s/ Jacob C. Shorter

JACOB C. SHORTER
